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EXHIBIT FF

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PHARMACEUTICAL BUYERS, INC

Abbreviated Vendor Catalog for

HOME INFUSION PROVIDER CLOSED SHOP

COPLEY PHARMACEUTICAL, INC.

October 27, 1994

38245-0433. GLYBURIDE 2.5MG TABLET GLYBURIDE 100 EA 12 730
38245-0433.§ GLYSURIDE 2.5MG TABLET GLYBURIDE S00 EA 80.450
3824$-0477-4 GLYBURIDE 1.25MG TABLET GLYBURIDE 50 £A 3.920
38245-0604-1 WHALOPERIDOL LAC 2MG/ML CONC HALOPERIOOL LACTATE / 15 ML 3.600
38245-0607-1 GRANULDERM AEROSOL TRYPSIN/BALSAM PERU/CASTOR OIL 113 ML 6.750
3824$-0612-1 OOXEPIN TOMG/ML ORAL CONC DOXEPIN HYDROCHLORIDE 120 ML 5.900
38245-0613-1 THIOTHIXENE S5MG/ML. ORAL CON THIOTHIXENE HYDROCHLORIDE 120 ML 11.000
38245-0633-0 VALPROIC ACID 250MG/SML SYR VALPROATE SODIUM 430 ML 23.100
38245-0660-0 ETHOSUXIMIDE SYRUP ETHOSUXIMIOE SYRUP 480 EA 36.900
Comments
Coatract Term: thru 10/31/96
OEY LABORATORIES
49502-0030-0 SODIUM CHLORIDE 0.9% VIAL SODIUM Cl FOR INHALATION 250/ 3 ML 29.106
49502-003G-1 SODIUM CHLORIDE 0.9% VIAL SODIUM CL FOR INHALATION 128/ 10 ML 29.10C
89502-01810 ACETYLCYSTEINE 10% VIAL ACETYLCYSTEINE 12/ @ ML 20.28¢
49902-018}-3 ACETYLCYSTEINE 10% VIAL ACETYLCYSTEINE 3/ 30 ML 24.277
49502-0182-0 ACETYLCYSTEINE 20% VIAL ACETYLCYSTEINE $2) 4 ML 20.746-
49502-0182-3 ACETYLCYSTEINE 20% VIAL ACETYLCYSTEINE 3) 30 ML 27.aC
49502-06590 ISOETHARINE 0.25% SOLUTION ISOETHARINE HYOROCHLORIDE 25/ 2 ML z
49502-0676-0 METAPROTERENOL 0.6% SOLN METAPROTERENOL SULFATE 25/ 2 Mt 2
49502-06780 METAPROTERENOL 0.4% SOLN METAPROTERENOL SULFATE 25/ 2 ML Tac
49$02-0697.0 ALBUTEROL .83MG/ML SOLUTION ALBUTEROL SULFATE 25/ 3 ML 11.9:
49502-0697-3 ALBUTEROL .83MG/ML SOLUTION ALBUTEROL SULFATE 30/ 3 ML 13.2¢
49302-0697-6 ALBUTEROL .83MG/ML SOLUTION ALBUTEROL SULFATE 60/ 3 ML 26.4c
39502-0820) SODIUM CHLORIDE 0.45% VIAL SODIUM CL FOR INHALATION 100/ 3 ML 9.5¢
49502-0830-0 SODIUM CHLORIDE 0.9% VIAL SODIUM CL FOR INHALATION 100/ 5S ML 9.5¢
49502-0830-0 SODIUM CHLORIDE 0.9% VIAL SOOIUM CL FOR INHALATION 100/ 5 Mu 9.5¢._
49402-0830-1 SOQOIUM CHLORICE 0.9% VIAL SODIUM CL FOR INHALATION 24/ 15 Mt S.tte
Comments SUPPLY IS GUARANTEED, PLEASE STATE THAT YOU ARE A
PBI MEMBER WHEN PLACING AN ORDER AND REFER TO
Contract Term: thru 10/31/96
SOW HICKAM PHARMACEUTICALS, INC.
0051400010 GRANULEX SPRAY TRYPSIN/BALSAM PERU/CASTOR OIL 56 ML 7.25¢
90514.0056-0 PRODERM AEROSOL BALSAM PERU/CASTOR OIL 113 ML 10.990
90514-0085-0 FLEXZAN AOHESIVE ORESSING ADHESIVE 10 EA 17.000
00514-0085-3 FLEXZAN AOHESIVE DRESSING ADHESIVE § EA 27.250
00514-0097-0 SORBSAN 3°X 3° WOUND DRESS CELLULOSE, OXIDIZED/CA ALGINATE 10 EA 26.000
00514-0092-1 SORBSAN 4°X 4" WOUND ORESS CELLULOSE,OXIDIZED/CA ALGINATE 10 EA 31.000
005140101-5 SULFAMYLON 8.5% CREAM MAFENIDE ACETATE 57 G 14.870
QOS140101-5 SULFAMYLON 3.5% CREAM MAFENIOE ACETATE 113 G 27.910
Comments
Contract Term: thru 10/31/96
DU PONT PHARMA/ENDO LABORATORIES, L.L.C.
00590-03680 NARCAN 1MG/ML VIAL NALOXONE HYOROCHLORIOE 10 ML 27.000
00590-0395-1 NUBAIN TOMG/ML P/F AMPUL NALBUPHINE HYDROCHLORIDE 10/ 1 Mb 3.000
00£90.0398-1 NUBAIN 20MG/ML P/F AMPUL NALBUPHINE HYDROCHLORIDE 10/ 1 ML 9§.00¢
Comments
Contract Term: thra 10/31/96

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VAC MDL 73915

